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                                                                          FILED: June 9, 2025


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                          No. 25-1397
                                     (5:24-cv-00731-M-RJ)
                                     ___________________

        JUDGE JEFFERSON GRIFFIN

                     Plaintiff - Appellee

        v.

        ALLISON RIGGS

                     Intervenor - Appellant

        and

        NORTH CAROLINA STATE BOARD OF ELECTIONS

                     Defendant - Appellee

        and

        NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
        ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
        ANDERSON

                     Intervenors

                                   _________________________

                                     RULE 42(b) MANDATE
                                   _________________________



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              This court's order dismissing this appeal pursuant to Local Rule 42(b) takes

        effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                    /s/Nwamaka Anowi, Clerk




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